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                     Exhibit A-Retention Order Page 1 of 4




                               EXHIBIT A

                             Retention Order




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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
                                                                           Order Filed on December 16, 2021
                                                                           by Clerk
                                                                           U.S. Bankruptcy Court
     Caption in Compliance with D.N.J. LBR 9004-1(B)                       District of New Jersey

     Melanie L. Cyganowski, Esq.
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     Fax: (212) 682-6104
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     asilverstein@otterbourg.com

     Proposed Co-Counsel to the
     Official Committee of Talc Claimants


     In re:                                                       Case No.:        21-30589

     LTL Management LLC,                                          Judge:           Michael B. Kaplan

                                      Debtor.                     Chapter:         11


               ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF
          OTTERBOURG P.C. AS CO-COUNSEL TO THE OFFICIAL COMMITTEE OF
               TALC CLAIMANTS EFFECTIVE AS OF NOVEMBER 12, 2021



                 The relief set forth on the following page is ORDERED.



DATED: December 16, 2021




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             Upon the applicant’s request for authorization to retain and employ Otterbourg P.C.

 (“Otterbourg”) as co-counsel to the Official Committee of Talc Claimants (the “Committee”) in

 the above-captioned case, effective as of November 12, 2021, it is hereby ORDERED:

 1.          The applicant is authorized to retain and employ the above party in the professional

             capacity noted. The professional’s address is:

                               Otterbourg P.C.
                               230 Park Avenue
                               New York, NY 10169

 2.          Compensation will be paid in such amounts as may be allowed by the Court on proper

             application(s).

 3.          If the professional requested a waiver as noted below, it is ☐ Granted ☐ Denied.

             ☐       Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

             ☐       Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in
                     a chapter 13 case. Payment to the professional may only be made after satisfactory
                     completion of services.

 4.          The effective date of retention and employment is November 12, 2021.

 5.          Notwithstanding anything to the contrary in the Application or Certification of Melanie

             L. Cyganowski, Otterbourg shall not seek reimbursement of any fees or costs, including

             attorney fees and costs, arising from the defense of any of Otterbourg’s fee applications

             in this case.

 6.          Notwithstanding anything to the contrary in the Application or Certification of Melanie

             L. Cyganowski, Otterbourg shall only bill 50% for non-working travel.

 7.          Notwithstanding anything to the contrary in the Application or Certification of Melanie

             L. Cyganowski, to the extent a conflict arises, Otterbourg will immediately file a

             supplemental certification with the Court, which shall disclose the conflict and which



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             provides that co-counsel will represent the Committee concerning that issue.

 8.          Otterbourg will agree to make a reasonable effort to comply with the U.S. Trustee’s

             requests for information and additional disclosures as set forth in the Guidelines for

             Reviewing Applications for Compensation and Reimbursement of Expenses Filed under

             11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1,

             2013 (the “U.S. Trustee Guidelines”).

 9.          Otterbourg will use the billing and expense categories set forth in the U.S. Trustee

             Guidelines (Exhibit D-1 “Summary of Compensation Requested by Project Category).

 10.         Otterbourg will provide any and all monthly fee statements, interim fee applications, and

             final fee applications in “LEDES” format to the United States Trustee.

 11.         Any and all compensation to be paid to Otterbourg for services rendered on the

             Committee’s behalf shall be fixed by application to this Court in accordance with

             Sections 330 and 331 of the Bankruptcy Code, such Federal Rules and Local Rules as

             may then be applicable, and any orders entered in this case governing the compensation

             and reimbursement of professionals for services rendered and charges and disbursements

             incurred.




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